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                           IN TH E UN ITED STATES D ISTRICT COU RT                          lko
                          FOR THEWESTERN DISTRICT OFVIRGINIA                             7FC 99
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                                  CH ARLOTTESV ILLE D IV ISION                      J                                 .
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    U NITED STA TES OF A M ER ICA                                                                                .,
                                                       Crim inalA ction N o.3:14CR00016

                                                       M EM O R AND U M O PIN IO N
    DA N IEL LAM ON T M A TH IS,etal.,
                                                       By:Hon.Glen E.Conrad
           Defendants.                                 ChiefUnited StatesD istrictJudge


           On October22,2014,HalisiUhuru (çiHalisi''),Anthony DarnellStokes(f(Stokes''),and
    fourcodefendantswere charged in amulti-countsuperseding indictm ent. Halisiand Stokeswere

    nam ed in the first count of the superseding indictment,which charged the defendants with

    conspiracyto participateinaracketeeringenterprise,in violation of18U.S.C.j 1962(d).They
    werealso charged with obstruction ofjustice,in violation of18U.S.C.j 1512(c)(1),based on
    theirinvolvementin the enterprise's effortsto concealand destroy evidence associated with the

    robbery,abduction,and murder of Kevin Quick. A1l six defendants proceeded to trial in
    February of 2016,and were convicted of each offense with w hich they w ere charged. On

    November28,2016,thecourtconductedahearingonthemotionsforjudgmentofacquitlalfled
    by Halisiand Stokes,andtheparties'writtenobjectionsto theUnited StatesProbation Office's
    calculations under the U nited States Sentencing Guidelines. This m em orandum opinion sets

    forththecourt'srulingsonthosemotionsandobjections.
           1.     M otionsforJudam entofA cquittal

           The defendants' motions forjudgment of acquittal challenge the sufficiency ofthe
    evidence to suppol'ttheirconvictions. W hen amotion forjudgmentofacquittalisbased on a
    claim ofinsuffieientevidence,thejuryverdictktmustbesustainedifthereissubstantialevidence,
    taking the view m ostfavorable to the G overnm ent,to supportit.'' Glasser v.U nited States,315




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    U.S.60,80 (1942). iisubstantialevidence isevidence thata reasonable finderoffactcould
    accept as adequate and sufficient to support a conclusion of a defendant's guilt beyond a

    reasonable doubt.'' United Statesv.Green,599 F.3d 360,367 (4th Cir.2010)(citation and
    internal quotation marks omitted). In determining whether substantialevidence supports a
    verdict, the court considers both circum stantial and direct evidence, drawing all reasonable

    inferenccs from such evidence in the governm ent's favor. United States v.H arvev,532 F.3d

    326,333 (4th Cir.2008). The courtdoes notreweigh the evidence or reassess the jury's
    determination ofwitnesscredibility,United Statesv.Brooks,524 F.3d 549,563(4thCir.2008),
    and can overturn a conviction on insufficiency grounds 'éonly when the prosecution's failure is

    clear,''United Statesv.M oye,454 F.3d390,394(4th Cir.2006)(citation and internalquotation
    marksomitted). Thus,adefendantchallengingthesufficiency oftheevidencemustovercomea
    tûheavyburden.''UnitedStatesv.Engle,676 F.3d405,419(4thCir.2012).
           A.     Count 1

           Assetforth above,Count lofthe superseding indictm entcharged the defendantswith

    conspiracy to participate in a racketeering enterprise,in violation of the Racketeer lntluenced

    and CorruptOrganizationsAct(ûkR1CO''),18U.S.C.j 1962(d). RICO makesitûcunlawfulfor
    any person em ployed by or associated w ith any enterprise engaged in,orthe activities ofw hich

    affect,interstate or foreign com merce,to conduct orparticipate,directly or indirectly,in the

    conductofsuch enterprise'saffairsthroughapatternofracketecringactivity ....'' 18U.S.C.j
    l962(c). A iipattern ofracketeering''consists          least tw o acts of racketeering activity''

    occurring within aten-yearperiod,18U.S.C.j 1961(5),which areçtrelated''and dsposeathreat
    ofcontinuedcriminalactivity-''H.J.lnc.v.Nw.BellTel,Co.,492U.S.229,239 (1989).These
    ûigrlacketeering acts,often referred to as predicate acts,include any actor threatinvolving




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    m urder,kidnapping,gambling,arson,robbery,bribery,extortion,dealing in obscene m atter,or

    dealing in a controlled substance chargeable under state 1aw and punishable by im prisonm entfor

    more than one year.'' United Statesv.Cornell,780 F.3d 616,623 (4th Cir.20l5)(citing 18
    U.S.C.j 1961(1)(A)). The predicate acts also include Skany act which is indictable under
    gcertainlprovisionsoftitle 18,''includingiksection 1512,''18U.S.C.j 1961(1)(B),whichmakes
    itunlawfulto Eicorruptly ...alteru,destroyu,mutilategl,orconcealgjarecord,document,or
    otherobject,orattemptljtodo so,with theintentto impairthe object'sintegrity oravailability
    foruseinan officialproceeding,''l8U.S.C.j 1512(c)(1).
           Halisiand Stokes were convicted tmderRlCO's conspiracy provision,which prohibits

    anyone from conspiring to violate the provisions of 18 U.S.C.j 1962(c). See 18 U.S.C j
    1962(d). To satisfy j 1962(d), the government must prove the following elements: (1)
    kithatan enterpriseaffecting interstate commerce existed'''(2)kç'
                                                                    thateach defendantknowingly
    and intentionally agreed w ith another person to conduct or participate in the affairs of the

    enterprise'';and (3)isthateach defendantknowingly and willfully agreedthathe orsomeother
    m em ber of the conspiracy w ould com m it at least two racketeering acts.'' U nited States v.

    M ouzone,687 F.3d 207,218 (4th Cir.2012)(citation and internalquotation marksomitted).
    Unlikethegeneralconspiracy statuteapplicableto federaloffenses,18 U.S.C.j371,j 1962(d)
    does notrequire the com mission of any overtor specitic actin furtherance ofthe conspiracy.

    Salinasv,United States,522 U.S.52,64 (1997).Instead,an agreementissufficient. Id.;see
    also M ouzone,687 F.3d at218.

           1.     H alisi's M otion

           lnseekingjudgmentofacquittalonCount1,Halisiargues,ashedidduringtrial,thatthe
    evidence connecting him to the alleged enterprise in this case, the 99 G oon Syndikate, w as




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    insufficient. Hepointsoutthathe wasincarcerated duringpartofthecharged tim efram e ofthe

    conspiracy,thathe did notpersonally recruitallofthe otherm em bersofthe 99 Goon Syndikate,

    thathe did notorderordirectany ofthe specificrobberiescommittedby otherm embers,andthat

    he had no involvementin the actualkidnapping and murderofKevin Quick. According to
    Halisi, the government's evidence showed that he was merely associated with the charged

    enterprise,notthatheknowingly and willfully agreed to participate in itsaffairs.

           V iew ing the evidence in the lightm ost favorable to the governm ent,however,the court

    concludesthatthereissubstantialevidenceintherecordtosupportthejury'sverdictonCount1.
    The evidence attrial,which included the testim ony of gang m em bers Anthony W hite,D evante

    Bell,and Shiquan Jackson,the gang's docum ents and isbooks ofknow ledge,''and textm essages

    sentby Halisiand hiscodefendants,demonstrated thatHalisiwasthehighest-ranking memberof

    the 99 Goon Syndikate,which was a crim inalenterprise of commonly assoeiated individuals

    who engaged in multiple actsofracketeering forthe mutualbenefitofthe gang'smembersand

    the gang itself. As the highest-raA ing m ember of the 99 Goon Syndikate, Halisi was

    responsible forpassing down the gang's lingo and rulesto othermem bersoftheentem rise. He

    also m entored and provided guidance to lower ranking m em bers of the gang, such as Shantai

    Shelton,who was advised by Halisithatshe would ultimately move up in rank ifshecontinued

    to ikputin work.'' Halisi'sm essage to Shantaiwas ccmsistentwith otherevidence introduced by

    the governm ent,w hich indicated thatm em bers ofthe 99 Goon Syndikate w ere expected to Stput

    in w ork,'' w hich m eant, in essence, to com m it robberies and other racketeering acts. By

    com m itting these crim inal acts, as gang insider A nthony W hite testified, m em bers of the

    enterprise hoped that they w ould earn both respect and ralzk, and ultim ately m ove up in the

    organization.




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           W hile there is no evidence thatHalisiordered,directed,orwas personally involved in

    any ofthe particular robberies that w ere com m itted by m em bers of the 99 G oon Syndikate,the

    governm ent'sevidence established thatH alisibenefitted from the acts ofracketeering com m itted

    by othergang m em bers. Forinstance,Halisireceived a .38 caliberrevolverfrom A nthony W hite

    thathad been taken from theresidenceofM ichaelShaffer,and then bragged to a witnessthathe

    had gotten itfrom one ofhis(shom ies''w ho had been dtputting in w ork.'' See Dkt.N o.704 at35.

    The governm ent's evidence also established that Halisiw as personally involved in at leasttwo

    actsofracketeering,namelyconspiracytodistributenarcoticsandobstructionofjustice.
           Although Halisiis correctdithatthe RICO conspiracy statute doesnotdcriminalize m ere

    association with an enterprise,''' M ouzone,687 F.3d at218 (citation omitted),theevidence in
    this case illustrates far m ore than his 'çmere association''with the 99 Goon Syndikate. W hen

    construed in the governm ent's favor,the record clearly show sthatH alisiw as aware ofthe nature

    of the enterprise, that he w as a leader of the entep rise w ho guided other m em bers, that he

    received the proceeds of racketeering acts com m itted by low er-ranking m em bers,and that he

    directly participated in atleasttwo racketeering actsunderlying the alleged conspiracy. ln light

    of such evidence, it sim ply cannot be said that Halisi w as a m ere associate of the 99 G oon

    Syndikate.Accordingly,hismotion forjudgmentofacquittalonCount1mustbedenied.
           2.     Stokes'M otions

           StokeshasalsomovedforjudgmentofacquittalonCount1. In addition to adoptingthe
    jointmotion forjudgmentofacquittalfiledby DanielM athisand KweliUhuru,aswellasthe
    motion forjudgmentofacquittalfiledby Halisi,Stokes'currentcounselhastiled on hisbehalfa
    m otion challenging the suftsciency ofthe evidence w ith respectto the third elem entsetforth in




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    M ouzone.' Specifically,Stokesarguesthatthe governm entfailed to prove thathe itknowingly

    and w illfully agreed that he or som e otherm em ber ofthe conspiracy would com m it atleasttw o

    racketeering acts.'' M ouzone,687 F.3d at 218. For the follow ing reasons,the courtconcludes

    thatthe evidence presented by the governm ent,w hen view ed in its favor,w as sufficientto allow
                                                                                                            2
    a reasonable jury to find thatStokes personally committed at least two racketeering acts.
    Accordingly,Stokes'motionforjudgmentofacquittalbasedonthethirdelementwillbedenied.
            First,as Stokes seem ingly concedes in the m em orandum filed in supportof his m otion,

    the governm ent's evidence dem onstrated that he com m itted m ultiple acts establishing his

    participation in a conspiracy to distribute narcotics. W hile Stokes argues that the narcotics

    conspiracy was unrelated to the 99 Goon Syndikate,there wasam ple evidence from which the

    jury could reasonably find to the contrary.3 The govem ment's evidence demonstrated that
    Stokes was the second-highest-ranking member ofthe 99 Goon Syndikate,and thatthe gang


             1 Forthe reasons stated in the court's previous memorandum opinion denying the motion tiled by
    DanielM athisand KweliUhuru,the courtwilldeny Stokes'motion adopting the arguments madeby hisco-
    defendants. Likewise,in lightoftheevidencepresentedby thegovernment,itcannotbesaid thatStokeswasa
    ïdmere associate''ofthe 99 Goon Syndikate. Accordingly,the courtwilldeny Stokes'm otion adopting the
    argumentsm adeby HalisiUhuru.Finally,thecourtisunableto concludethatany ofthe additionalarguments
    raisedinStokes'prosemotionswarrantajudgmentofacquittal.Thus,thosemotionswillalsobedenied.
            2 In addition to arguing thathe did notpersonally commitany qualifying racketeering acts, Stokes
    arguesthatthe government's evidence was insufficientto establish thathe agreed thatothermembers ofthe
    conspiracy would commit certain of the predicate acts alleged in the superseding indictment,such as the
    various acts of robbery thatwere committed by his fellow gang members. Relying on the Fourth Circuit's
    recentdecision in United Statesv.Barnett,No.14-4866, 2016 U.S.App.LEXIS 18394 (4th Cir.Oct.12,
    2016),Stokescontendsthatthegovernmentfailedto identify any çispecificactof...robbery'' to which he
    agreed,andthatwithoutsuchevidence,Stnoreasonablejurorcouldtind,basedsolelyonghis)association with
    gtheenterprisej,thatghejagreedto predicateactsof...robbery.''Barnett,2016U.S.App.LEXIS 18394,at
    *29. W hilethegovernmenthasidentified anumberoffactsthatdistinguish Stokes'involvementin the RICO
    conspiracy from thatof the female defendant in Barnett,the courtultimately need not decide this issue.
    Because the government's evidence was sufticientto establish thatStokes personally committed atleasttwo
    racketeering acts,the courtneed notaddresswhetherStokes'conviction m ay also restupon otheractsthathe
    did notpersonally com m it.
            3 Likewise, the evidence in the record, including the testimony of Jamar Rice, belies Stokes,
    characterization ofthe quantity ofnarcotics for which he was responsible as a tddecidedly modestam ount.''
    Dkt.No.872 at6.
                                                       6

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    created a code to disguise their language when discussing narcotics. Following the murder of

    Kevin Quick,fourmembersofthe CentralVirginia lineofthe 99 Goon Syndikatetraveled to
    M anassas to m eetw ith H alisiand Stokes,the tirst and second in com m and. The evidence at

    trial,including Stokes'ow n text m essages,established thatthe m eeting w as im portant and that

    attendance was considered mandatory. Atthat meeting,Stokes recruited Shantai Shelton to

    distribute narcotics for him in the CdLouisa/charlottesville area,'' and Shantai agreed to do so.

    See D kt. N o. 710 at 129. M oreover, as a result of his involvem ent in the distribution of

    narcotics, Stokes w as able to provide financial supportto other mem bers of the 99 Goon

    Syndikate,including the four members responsible for Kevin Quick's murder,who Stokes
    assistedwhilethey were evading law enforcem ent. Forthesereasons,theevidence presented by

    the govem mentwassufficientto establish notonly thatStokeswasinvolved in a conspiracy to

    distribute narcotics, but that this racketeering activity was related to the operation of the

    enterprise.

           Second, the governm ent's evidence established that Stokes personally com m itted the

    predicateracketeeringactofobstructionofjustice,inviolationof18U.S.C.j 1512(c)(1).W hile
    Stokes argues in a separate m otion thathe is notguilty of the charged obstruction offense,the

    courtdisagrees forthe reasons setforth below .

           ln sum , the evidence presented by the governm ent, when viewed in its favor, w as

    sufficientto allow areasonablejury to findthatStokesagreed tocommit,andinfactcommitted,
    atleasttwO actsOfracketeering.Accordingly,Stokes'motion challenging the sufticiency ofthe

    evidence as to the third elem entofthe RIC O conspiracy offense m ustbe denied.




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           Il.     Count36

           Count 36 of the superseding indictm ent charged Halisi and Stokes w ith obstruction of

    justice,inviolationof18U.S.C.j 1512(c)(1).Underthisstatute,anypersonwhotlcorruptly ...
    alters,destroys,mutilates,orconcealsarecord,document,orotherobject,orattemptstodo so,
    with theintenttoimpairtheobject'sintegrity oravailability forusein an officialproceeding ...
    shallbe fined underthis title orimprisoned notmore than 20 years,orboth.'' 18 U.S.C.j
    l512(c)(1). Forpurposesofthestatute,an iûofticialproceeding''includesaproceedingbeforea
    federaljudge,court,orgrandjury,butnotastate proceeding. See 18 U.S.C.j 1515(a)(1)(A).
    H owever,the qualifying proceeding ''need notbe pending oraboutto be instituted atthe tim e of

    the offense,18U.S.C.j 1512(9(1),and the govel
                                                mmentneed notprovethatthedefendantwas
    awarethattheproceedingwasfederalin nature. See 18U.S.C.j l512(g)(1)(tçlnaprosecution
    for an offense under this section, no state of mind need be proved with respect to the

    circumstance...thattheofficialproceeding ...isbeforeajudgeorcourtoftheUnited States,
    gorlaFederalgrandjury ....'').
           B.      H alisi'sM otion

           Halisi's written motion forjudgment of acquittal challenges the sufficiency of the
    evidenceto supporthisconviction forobstruction ofjustice. Halisi'sargumentwith respectto
    thiscountisessentially acredibility challenge. Halisiarguesthatçttheonly evidenceagainsthim

    regarding the obstruction charge cam e from Leslie Hope Casterlow ,'' and that Casterlow 's

    testim ony w as notw olhy ofbelief since she dûadm itted to lying on num erous occasions to the

    police and otherofticials involved in thiscase.'' D kt.N o.754 at4.

           As explained above,itwas thejury'srole to assess the credibility ofwitnesses and
    resolve any contlicts in the w itnesses' testim ony. See Brooks,524 F.3d at 563. Because the


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    coul'
        t is notperm itted to analyze the credibility of w itnesses or re-weigh their testim ony when

    evaluating the sufficiency of the evidence, H alisi's credibility challenge is w ithout m erit.

    M oreover,while Leslie Casterlow 's testimony established thatHalisiwas directly involved in

    the effol'ts to conceal and destroy evidence of the robbery,abduction,and m urder of Kevin

    Quick,itwasnottheonlyevidenceoffered bythegovernment. lnstead,thetestimony ofgang
    m em bers Shiquan Jackson and D evante Bell revealed that Halisiw as involved in the efforts to

    dispose ofQuick'svehicle,and theirtestimony wascorroborated by a seriesoftextmessages
    between Halisiand othergang members. Forthese reasons,Halisi'smotion forjudgmentof
    acquittalon Count36 mustbedenied.

                   Stokes'M otion

           Stokesfiled aseparatemotionforjudgmentofacquittalchallengingthesufficiency ofthe
    evidenceto supporthisconvictionunderj 1512(c)(1).Stokesdoesnotclaim,norcouldhe,that
    the evidence was insufticient to establish his involvement in the destnzction of evidence.

    Instead, relying on the Suprem e Court's decisions in United States v.A cuilaz, 515 U .S. 593

    (1995)and ArthurAndersonLLP v.UnitedStates,544U.S.696 (2005),Stokesarguesthatheis
    entitled to an acquittalbecause the governm entfailed to establish a sufficientSinexus''betw een a

    proceeding andhisobstructive conduct.

           In Aguilar,the Supreme Courtconsidered theintentelementunder 18 U.S.C.j 1503,
    which makes itunlawfulto içtcorruptly endeavorgjto influence,obstnzct,or impede,the due
    administrationofjustice.'''Acuilar,515U.S.at598.Inan efforttotdplacemetesandboundson
    theverybroadlanguage''ofthestatute,theSupremeCourtheldthatidgtqheactionsoftheaccused
    mustbewithan intenttoinfluencejudicialorgrandjuryproceedingsn''andthatiçitisnotenough
    that there be an intent to intluence som e ancillary proceeding, such as an investigation


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  independentofthecourt'sorgrandjury'sauthority.''J-IZ.at599.The SupremeCourtnoted that
  som e courts had dcphrased this show ing as a 'nexus' requirem ent - that the act m ust have a

  relationship in time,causation,orlogic with thejudicialproceedings.'' Id.(internalcitations
  omitted). kiln other words,the endeavor nnust have the Snatural and probable effect' of
  interferingwiththedueadministrationofjustice.''1d.(internalcitationsomitted).
         ln Arthur Anderson, the Supreme Courtextended the Aguilar nexus requirement to

  prosecutions under 18 U.S.C. j 1512(b),which i'makels) it a crime to dknowingly use
  intim idation orphysicalforce,threaten,or corruptly persuade another person ...w ith intent to

  cause'thatperson to Swithhold'documents from,or (alter'documents for use in,an Sofflcial

  proceeding.''' ArthurAnderson,544 U.S.at698 (quoting 18U.S.C.j 1512(b)(2)(A)and (B)).
  ln that case, the Suprem e Courtrelied on A guilar to support its conclusion that although $ka

  proceeding ineed not be pending or about to be instituted at the tim e of the offense,'''a

  proceeding mustbeatleastforeseeableto thedefendant. ld.(quoting 18U.S.C.j 1512(e)(1).
  The Coul'
          t emphasized thata defendantwho dttlacks knowledge that his actions are likely to

  affectga1judicialproceeding ...lackstherequisiteintentto obstruct.''' Id.(quoting Aguilar,
  515U.S.at599).
         N eitherthe Suprem e Courtnorthe United States CourtofAppeals for the Fourth Circuit

  hasdecided whetherthc nexusrequirementarticulated in Aguilarand ArthurAnderson extends

  to prosecutions under 18 U.S.C.j 1512(c)(1). However,at least one appellate courthas
  determined thatthesamelogicûiapplieswithequalforceto j 1512(c)(1)becausethatsubsection,
  like    l512(b)(1), speaks in terms of the relationship between obstructive acts and a
  proceeding.''4 United States v M atthews,505 F.3d 698,708 (7th Cir.2007) (holding that
                                  ,




          4Severalappellatecourtshaveappliedthenexusrequirementto j1512(c)(2). See.e.:.,United States
  v.Petruk,781F.3d438,444(8thCir.2015)(collectingcases).
                                                  10

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  Stbeforeadefendantmaybeconvictedofobstructionunderj 1512(c)(l),hemustbelievethathis
  actswillbe likely to affecta pending orforeseeable proceeding'');see also United States v.
  M ann, 685              723 (8th Cir.2012) (assuming arguendo that the SiAguilar nexus
  requirement''appliesto j 15l2(c)(1)). ln this case,the courtfindsitunnecessary to decide
  whetherAguilarand ArthurAnderson apply to j 1512(c)(1). Even assuming thatthe nexus
  requirementarticulated inthosedecisionsshouldbeimputedtoprosecutionsunderj 1512(c)(1),
  the evidence attrialestablished thatan officialproceeding w as foreseeable to Stokes,and thathis

  conductw asintended to affectsuch proceeding.

         The evidence adduced attrialincluded the testim ony ofJam arRice,who w asw ith Stokes

  afew daysafterthemurderofKevin Quick.W hilethetwoweretravelingtoahotelinNorthern
  Virginia where the otherdefendantswere staying,Stokes received a phone call. Following the

  call,Stokes appeared nervous. W hen Rice asked Stokes ç'w hat was going on,''Stokes initially

  indicated thatRice kçdidn't want to know .'' Dkt.N o.704 at43. A fter a few m om ents,Stokes

  told Ricethatûûthe fed --thepolice had kicked in thedoorto theplace''where they wereheaded,

  and thatthey could no longergo there. 1d. On the w ay back to M anassas,Stokes told Rice that

  Cksom e of his hom ies had been involved in som e things,'' m ore specifically that they had

  ûkcarjackedaman,theytookhiscar,theyranthroughhispocketsgand)foundouthewasapolice
  officer,(andjthey took him into the woodsand they killed him.'' J.
                                                                   kz.at44. Stokes further
  relayed that,following them urder,(sthey wentto aneighborhood and tried to rob am an thatwas

  selling weed,''butl'gtlhey ended up shootinghim gandthelclip felloutofthegun.'' Id.at45.
  Rice testified thatStokes w as Skconcerned''aboutthe clip falling out ofthe gun,because itcould

  k'traceg)the gun back to the murder''and k'he was roughly tied into it.'' Id.at46. Stokes
  explained that the firearm had been disassem bled but w as still in the possession of Leslie


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Case 3:14-cr-00016-GEC-JCH Document 898 Filed 12/09/16 Page 11 of 25 Pageid#:
                                  13771
  Casterlow. The government's evidence established that Stokes, Halisi, and Casterlow

  subsequently drove along 1-495 in the m iddle of the night and disposed of the disassem bled

  firearm by pitching itover a highway barricade. On the same day thatthey disposed of the

  w eapon,the internet history on Stokes' phone contained links regarding the search for K evin

  Quick,a warrantissued in connection with the search,and the discovery ofQuick'svehicle.
  Additionally,thegovernm ent'sevidenceestablished thattheFederalBureau oflnvestigation was

  involved in the investigation from the very beginning.

         The evidence presented by the governm ent,when viewed in its favor,established that

  Stokesknew thathiscodefendantshad murdered an officer,thatlaw enforcementhad Skkicked in

  the door''to their hotelroom and arrested them ,and thatthe m urderw eapon - the sam e weapon

  used in a subsequentshooting - w asw ith Casterlow ,and thatStokesbelieved thathe w as tied to

  it. Under these circumstances,a jury could easily infer that an official proceeding was
  foreseeable to Stokes,and that his subsequent involvem ent in the disposal of the firearm was

  intended to affectitsavailability in suchproceeding. Accordingly,the governmentintroduced
  nmple evidenceto satisfy any nexusrequirementapplicableto j 1512(c)(1)underAguilarand
  A rthurA nderson.

         Stokes also goes one step further and argues that the evidence failed to establish a

  sufficientnexusto afederalproceeding;in otherwords,thathe should be acquitted on Count36

  becausehehadno reasonable likelihood ofknowing thattheinvestigation into Quick'smurder
  related to a federal proceeding as opposed to a state proceeding. The court agrees w ith the

  governm ent that Stokes' argum ent in this regard is ûçcontradicted by the plain statutory

  language.''United Statesv.Stanlev,533F.App'x 325,329 n.*(4th Cir.2013). kiln particular,
  the statute specifiesthata qualifying proceeding tneed notbe pending or aboutto be instituted at


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                                  13772
  thetimeoftheoffense,'18U.S.C.j 1512(9(1),andthat$nostateofmind need beproved with
  respecttothecircumstance...thattheofficialproceeding ...isbeforeajudgeorcourtofthe
  United States,''id.atj 1512(g).''1d.;seealsoUnitedStatesv.Phillips,583F.3d 1261,1264-65
  (10th Cir.2009) (diM r.Phillips contends thatthe evidence only demonstrates he was aware
  Officer Bice w as a police officer,notthathe w as aware of an ongoing or future federalgrand

  juryinvestigation. Hearguesthatthisisinsufficientto establish therequisitemensreaunderj
  1512(c)(2). W edisagreewith Mr.Phillips'sassessmentof...the1aw ....First,j 1512(c)(2)
  does not require that the defendant knew of the existence of an ongoing official proceeding.

  Rather,a conviction underthe statute isproper ifitisforeseeable thatthe defendant's conduct

  willinterfere with an officialproceeding ....Second,j 1512(g)(1) makes clear that the
  governm entneed notprovethe defendantknew thattheofficialproceeding atissuewasa federal

  proceeding suchasagrandjuryinvestigation.''l;United Statesv.Felton,500F.App'x65,66-67
  (2d Cir.20l2)(holding thatthedefendant'srequestedjury instnlction - ttthatthe government
  mustprovethatthedefendantforesaw thepossibilitythat(a1liewould makeitsway toafederal
  proceeding''-was(kaninaccuratestatementofthelaw'')(emphasisin original)(citing 18U.S.C.
  j1512(g)(l)).
         M oreover,forthe reasonsdiscussed during the hearing,the two caseson which Stokes

  prim arily reliesto supporthisfederalnexusargum entare clearly distinguishable on theirfacts.

  SeeUnitedStatesv.Petruk,781F.3d444,446(8thCir.2015)(vacatingadefendant'sconviction
  for attempting to obstruct an officialproceeding under 18 U.S.C.j 1512(c)(2) where the
  defendant's conduct in 2012 was tiunequivocally directed at obstructing (existingq state
  proceedingsand notthe federalproceedingswhich he was eventually subjected to in 2013'');
  United States v.Tyler,732 F.3d 241,250 (3d Cir.2013)(holding thattherecord supported a



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  petitioner's claim thathe was actually innocentofa federalobstruction charge arising from the

  m urder of a w itness scheduled to testify against the petitioner's brother in state court, since

  d'therewasnoevidencethatTyler'sconductwasdirected atpreventing gthewitness'sltestimony
  atanything otherthan as a witness to a state drug offense atTyler's brother's state trialy''and a

  specialagentconceded thatno federalcase involving the witness had been discussed atthe tim e

  ofherdeathandtherewasnoplantouseherin afederalproceeding).
         Foral1ofthesereasons,Stokes'challengesto the sufticiency oftheevidencearewithout

  merit.Accordingly,themotionforjudgmentofacquittalonCount36willbedenied.
         I1.    O biectionsto Stokes'PresentenceReport
                    .




                Application ofthe G roupinz R ules

         Stokes objected to two portions ofthe presentence repol'
                                                                t (C'PSR'')thataffected the
  calculation ofthe applicableGuidelinesrangeofimprisonment.Thefirstobjection pertainsto
  the application ofthe grouping provisionsofthe Sentencing Guidelines. The Probation Office

  grouped the RICO conspiracy countand the obstruction countpursuantto j 3D1.2(a),which
  providesthatdtcountsinvolvging)the same victim and the same actortransaction''should be
  placedinto asinglegroup forsentencingpup oses. SeePSR !(90 (citingU.S.S.G.j3D1.2(a)),
  The Probation Office then used the guideline provisions applicable to the conspiracy count to

  determinethe adjusted offense levelforthe grouped charges,since they produced thehighest
  offense level. SeeU.S.S.G.j3D1.3(a)(;ûln thecaseofcountsgrouped togetherpursuantto j
  3D1.2(a)-(c),the offense levelapplicable to the Group is the offense level,determined in
  accordance w ith Chapter Tw o and Parts A ,B,and C of Chapter Three,for the m ostserious of

  thecountscomprisingtheGroup,i.e.,thehighestoffenselevelofthecountsintheGroup.'').




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         Ptlrsuantto j2E1.1oftheSentencing Guidelines,thebaseoffenselevelforadefendant
  convicted of a RICO offense is the greater of 19 or isthe offense level applicable to the

  underlyingracketeering activity.''U.S.S.G.jZEI.I. TheApplicationNotesto j2E1.1provide
  thatdigwlhere there ismore than one underlying offense,treateach underlying offense as if
  contained in a separate countofconviction forthe puposesofsubsection (a)(2).'' U.S.S.G.j
  2E1.lapp.n.1. ln addition,theApplication Notesdirectthe courtto isapply ChapterThree,Parts

  A ,B,C,and D''to determ ine whether an underlying offense produces an offense levelgreater

  than 19.Ld-us
         ln Stokes'case,the Probation Office identified tlu'
                                                           ee underlying racketeering offenses:

  robbery (designated in thePSR asOvertActNo.1),narcoticsdistribution (designated asOvert
  ActNo.2),and obstruction ofjustice (designated asOvertActNo.3). TheProbation Office
  then calculated the adjusted offense levelforeach offense. Those calculationsresulted in an
  adjusted offenselevelof26 forOvertActNo.1(robbery),an adjusted offense levelof19 for
  OvertActNo.2 (narcoticsdistribution),and anadjustedoffenselevelof30forOvertActNo.3
  (obstruction ofjustice). TheProbation Officethen applied j 3D1.4 todeterminethecombined
  adjustedoffenselevelfortheunderlyingoffenses.OvertActNo.1(robbery)andOvertActNo.
  3 (obstruction ofjustice)were each assigned one unit,which yielded a two-levelincrease in
  offenselevelunderj3D 1.4,andacombinedadjustedOffenselevelof32.
         ln hisfirstobjectiontothepresentencereport,StokescontendsthattheProbation Office
  erred by failingto group thepredicateracketeering offensesunderj3D1.2 inthesamemanner
  that it grouped the offenses of conviction. Stokes further argues that he should not receive a

  multiple-countadjustmentunderj 3D1.4,and thathiscombined adjusted offense levelshould
  instead beno higherthan 30,which istheadjustedoffenselevelapplicableto OvertActNo.3


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  (obstruction ofjustice). SeeU.S.S.G.j3131,4 app.n.1('çApplication oftherulesin jj3171.2
  and 3171.3 m ay produce a single Group ofClosely Related Counts. ln such cases,the com bined

  offense levelisthe levelcorresponding to the Group determined in accordance with j 3D1.3
  (i.e.,thehighestoffenselevelofthecountsintheGroup).'').Forthefollowingreasons,thecourt
  agrees.

         Pursuantto j3D1.2,tdgalllcountsinvolvingsubstantiallythesameharm shallbegrouped
  togetherintoasinglegroup.''U.S.S.G.j3D1.2.Section3171.2thenidentifiesfotlrcategoriesof
  countsinvolving the sam e hann w ithin the m eaning ofthe provision:

         (a)W hencountsinvolvethesamevictim andthesameactortransaction.
         (b)W hen countsinvolve the samevictim and two ormore actsortransactions
         connected by a common criminalobjective or constituting partof a common
         schem e orplan.

         (c)W hen oneofthecountsembodiesconductthatistreated asaspecificoffense
         characteristicin,orotheradjustmentto,theguidelineapplicableto anotherofthe
         counts.

         (d)W hen theoffenselevelisdetermined largelyon thebasisofthetotalnmount
         ofharm orloss,the quantity ofa substance involved,or som e othermeasure of
         aggregate harm ,oriftheoffense behaviorisongoing orcontinuousin nature and
         the offense guideline isw ritten to cover such behavior.

  U.S.S.G.j3Dl.2(a)-(d).Subsection (d)listsavarietyofoffensesthatarespecifically excluded
  from its operation,including robbery,which iscovered by U.S.S.G.j 2B3.1. Subsection (d)
  makesclear,howeversthatthe tsgelxclusion ofan offense from grouping underthissubsection
  doesnotnecessarilyprecludegroupingunderanothersubsection.U.S.S.G.j3D1.2(d);seealso
  United Statesv.W hite,810F.3d212,231(4th Cir.2016)(Ckseveralcourtshavemadeclearthat
  offensesexcludedfrom groupingunderSubsection (d)gofj3D1.2jmayneverthelessbegrouped
  pursuanttoSubsection(a)or(b).'').



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          Aftercarefully considering the presentence reportand the parties'argum ents,the court

  tindsitappropriate to group the predicate offensesofrobbery and obstruction ofjustice.5 As
  indicated above,subsection (b)ofj 3171.2 allowsforgrouping when countsinvolvethesame
  vidim and two ormore actsconnectedby acommon criminalobjective. SeeUnited Statesv.
  Porter,909 F.2d 789,793 (4th Cir.1990)(noting thatsubsection (b)of j 3D 1.2 i'allows for
  grouping w here the offenses in question constitute pal4 of the sam e transaction or partof the

  samecontinuing,commoncriminalendeavor'').Here,theobstnlctiveactsundertakenby Stokes
  w ere partof an effortto aid hisco-conspirators in avoiding detection forthe robbery,abduction,

  and murder of Kevin Quick,and,thus,çcinvolvegdl''a common victim and were partof a
  common criminal endeavor.The nexus between the robbery of Quick and the subsequent
  obstructive acts is illustrated in paragraph 56 ofthe PSR,which provides,in pertinentparq as

  follow s:

         . . . Underthedirection ofthe leaderofthe enterprise,Stokeswasinvolved in the
         effortsto relocate those m em bers involved in the robbery,abduction,and m urder
         ofKevin Quick.Hewasfurtherinvolvedintheeffortsoftheenteprisetodestroy
         documentsand evidenceassociated with themurderofQuick ....Assecond in
         command,Stokes also directed others to destroy evidence (debitcard,bloody
         clothes,cellphones,fireanu,etc.)in furtherance of,and in an effortto conceal,
         crim inalacts ....

  PSR !56.
         In responseto Stokes'objection,the Probation Ofticehighlighted thefactthatmultiple
  dtrobberies''were committed Sdto fund theracketeering organization,''and,thus,thatQuick was
  nottheonlyrobbery vidim. Seeid.at!92.Theproblem withthisargumentisthatparagraphs
  92through 97ofthePSR,which calculatetheadjustedoffenselevelforthepredicateoffenseof
  robbery,do notcite to a particular robbery orrobbery victim for which Stokes could be held

         5 OvertA ct N o.
                         2 (narcotics distribution)was notassigned any unitsunder j 391.4 and,thus,
  ultimatelyhad noeffectonthedefendant'scombinedadjusted offenselevel. Thus,thecourtneed notdecide
  whetheritshould alsobegrouped with theotherovertactsidentifiedbytheProbation Office.
                                                  17

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  responsible,and there is no evidence thatStokes wasactually involved in any of the specific

  robberies com m itted by the 99 G oon Syndikate. Perhaps forthis reason,the Probation Office

  com bined a1lofthe various robberies into one group ofrobbery offenses,even though they were
  com m itted on separate occasions and involved different victim s.6 Because one of the grouped

  robbery offenses and the obstruction offense involved a com m on victim and a shared crim inal

  objective,thecourtbelievesthattherobbery andobstruction offensesazeappropriately grouped
  underj 3D1.2(b). See United Statesv.Duncan,311F.Supp.2d 757,762 (N.D.Ind.2004)
  (holding thatseparatecountsofconviction forbankrobbery and maliciousburningofavehicle
  qualified for grouping under j 3D1.2(b),since 'kthe burning ofthe vehicle was partof the
  Defendant'splanto avoid detectionforthebankrobbery'').ThemerefactthatKevin Quickwas
  nottheonly victim oftherobberiescomm itted by the 99 Goon Syndikateisnotdispositiveunder

  thecircum stancesofthisparticularcase,noristhefactthatothermembersofsociety can besaid

  to be the victim sofobstructive conduct.

         The court notes that its decision to group the predicate offenses of robbery and

  obstruction ofjusticeisconsistentwith theProbationOffice'sdecisionto group theoffensesof
  conviction. The decision is also consistentwith the provisions ofthe Sentencing Guidelines

  applicableto obstruction ofjustice,which providethatsuch offenseisordinarily grouped with
  the underlying offense with respect to which the obstructive conduct occurred. Seee e.g.,

  U.S.S.G.j3C1.1app.n.8.Forallofthesereasons,Stokes'objectiontotheapplication ofthe
  grouping rulesis sustained,and hewillbe assigned a combined adjusted offense levelof30,
  whichistheadjustedoffenselevelapplicabletotheunderlyingobstructionoffense.



          6 ln this regard, Stokes'PSR differed from those prepared for co-conspirators who were actually
  involved in thecomm ission ofmultiplerobberies.
                                                    18

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         B.      C areer O ffenderE nhancem ent

          Stokes also argues that the Probation O ffice im properly designated him as a career

  offenderunderj4B1.1oftheSentencingGuidelines.7 Section 4B1.1providesthatadefendant

  is a careeroffender if:(1)the defendantwasatleasteighteen years old atthe time ofthe
  commission oftheinstantoffenseofconviction'
                                            ,(2)theinstantoffenseofconvictionisafelony
  thatiseithera crime ofviolence ora controlled substance offense;and (3)the defendanthas
  been convicted oftwo priorcrimes,each ofwhich was a felony conviction foreitheracrime of

  violenceoracontrolled substanceoffense. U.S.S.G.j481.l(a).Here,thereisno disputethat
  Stokeswasatleast18 yearso1d when hecommitted the instantoffenses.lnstead,Stokesargues

  that he should not be sentenced as a career offender because neither his instant offenses of

  conviction norhispriorconvictionsqualify asûdcrimegslofviolence''or(tcontrolled substance
  offensegsl''withinthemeaningofthecareeroffenderprovision.
         Thetermsçicrimeofviolence''and dtcontrolled substanceoffense''aredefined in j481.2
  of the Sentencing Guidelines. The newly amended version of j 481.2 defines a E
                                                                               tcrime of
  violence''as

         any offense under federalor state law,punishable by imprisonment for a tenn
         exceeding one year,that-

         (1)hasasan elementtheuse,attempted use,orthreatened useofphysicalforce
         againstthe person ofanother,or

         (2)ismurder,voluntary manslaughter,kidnapping,aggravatedassault,aforcible
         sex offense, robbery, arson, extortion, or the use or unlaw ful possession of a
         tirearm described in 26 U.S.C.j 5845(a)orexplosivematerialasdefined in 18
         U.S.C.j841(c).
  U.S.S.G.j4B1.2(a)(2016). A Skcontrolled substance offense''isdefined asdçan offenseunder
  federalorstate law ,punishable by im prisonm entfora term exceeding one year,thatprohibitsthe
          7As aresultofbeing designated asa careeroffender, Stokeswasassigned a base offense Ievelof32
  and acriminalhistory category ofVl.



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  . . .   distribution ...ofacontrolled substance ...orthepossession ofa controlled substance ...

  withintentto ...distribute....''U.S.S.G.j481.2(b).Theapplicationnotesto j481.2further
  provide thatthe terms $kCEcjrime ofviolence'and Scontrolled substance offense'include the
  offenses of aiding and abetting,conspiring,and attem pting to com m itsuch offenses.'' U .S.S.G .

  j481.2app.n.1.
             During thehearingontheparties'objections,Stokesarguedthatthefirstissue- whether
  eitherofthe instantoffensesisa crime ofviolence ora controlled substanceoffenseunderj
  48 1.2 - is dispositive,and that the courtneed notdecide whether his prior convictions for

  attem pted robbery are qualifying predicate offenses. W ith respectto this issue,the parties'

  dispute centersonwhetherthecourtmustapply acategoricalapproach in decidingthisissue,and

  focus solely on the statutory definitions of the offenses in question, or whether the courtcan

  expand the scope of its analysis to include the particular facts underlying the offenses of

  conviction. See,e.c.,Mathisv.United States,136 S.Ct.2243,2248 (2016)(explaining that
  when courts apply a categoricalapproach,they 'çfocus solely on ...the elem entsofthe crim e of

  conviction''and dtignorgeltheparticularfactsofthecase''),
                                                          'seealsoDescampsv,United States,
  133 S.Ct.2276,2285(2013)(describingthetlcentralfeature''ofthecategoricalapproach as$;a
  focusontheelements,ratherthanthefacts,ofacrime').
             W hile the governmentarguesthatthe Application Notesto j 4B1.2 contain language
  suggesting that sentencing courts can consider the specitic conduct at issue in determ ining
  w hether an offense is a crim e of violence or controlled substance offense,8 Stokes correctly

  points outthat the Foul'th Circuithas i'applied the categoricalapproach to instantoffenses w hen


          8 D uring the hearing, the governmentspeci fically cited to Application Note 2 to j 481.2,which
  provides that çtin determining whether an offense is a crime of violence or controlled substance for the
  purposesofj48l.1(CareerOffender),theoffenseofconviction(i.e.,theconductofwhichthedefendantwas
  convicted)isthefocusofinquiry.''U.S.S.G.j481.1app.n.2.
                                                    20

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  determining whether the defendant should be sentenced as a icareer offender' under the

  Sentencing Guidelines....''' United Statesv.Faulls,821F.3d 502,515 n.5 (4th Cir.2016)
  (citingUnitedStatesv.Johnson,953F.2d 100,114(4th Cir.1991);United Statesv.Martin,215
  F.3d470,474 (4thCir.2000));seealsoUnitedStatesv.Piccolo,44lF.3d 1084,1087& n.6 (9th
  Cir.2006)(holding thatûkthe crime-of-violencedetennination underU.S.S.G.j 4B1.2,alegal
  question,isproperly decided under ga)categoricalanalysisin casesofboth priorand current
  offenses,''and noting thati'gtjhe Fourth Circuitappliesthe categoricalapproach to an instant
  offense in determining whetherthatoffense qualifiesasacrim eofviolence undertheSentencing

  Guidelines'').Stokesalsopersuasivelyarguesthatneitheroftheinstantoffensesofconvictionis
  categorically a crim e of violence or a controlled substance offense for pup oses of the career

  offenderprovision.

          Ultimately,however,the courtneed notdecide thisissue. The courtagreeswith Stokes

  thatthe career offender designation overstates his criminalhistory,given the age ofthe prior

  convictionsand the factthatthey relateto offensesthatwere comm itted when Stokeswas only

  l8 years old. Thus,even if Stokes technically qualifies as a career offender,the courtis of the

  opinion thatadownward departure iswarranted. See U.S.S.G.j4A1.3(b). Accordingly,the
  courtwillsustain Stokes'objection and sentence him asifhe did nothavethe careeroffender
  designation. Specifically,the courtwilldepartdownward to a totaloffense levelof30 and a
  crim inalhistory category ofV .9




           9The courtnotesthatthe Probation Oftlce provided a Iistofdisciplinary actionstaken againstStokes
  while he was incarcerated forhisprioroffenses. W hile the courttindsthata downward departure from the
  careeroffenderlevels iswarranted notwithstanding Stokes'institutionalrecord,thecourtnonethelessbelieves,
  contrary to Stokes'assertion,thata defendant'sinstitutionalrecord can be considered in determining where in
  the applicableGuidelinesrangethedefendantshouldbesentenced.
                                                     21

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                                  13781
  II.    H alisi's Presentence R eport

         A.      R ole Enhancem ent

         The governmentfiledonewritten objection to Halisi'spresentencereport. Specitically,
  thegovernmentobjectsto the absenceofa roleenhancementunderj 3B1.loftheSentencing
  G uidelines. The governm ent argues that H alisi should, at a m inim um , receive a tw o-level

  increaseunderj381.1(c).
         Section 3B1.1(c) provides for a two-level adjustment dililf the defendant was an
  organizer, leader, manager,or supervisor in any crim inal activity'' involving less than five

  participants. U.S.S.C.j 3B1.1(c). ln determining whether a sentencing enhancement is
  appropriate underthis provision,Sktitles such as Skingpin'or tboss'are notcontrolling. U .S.S.G .

  j3B1.1app.n.4.Instead,sentencingcourtsaredirectedtoconsiderfactorssuchasSçtheexercise
  of decision m aking authority,the nature of participation in the com m ission of the offense,the

  recruitm ent of accom plices,the claim ed right to a larger share of the fruits of the crim e,the

  degree of participation in planning or organizing the offense,the nature and scope ofthe illegal

  activity,andthedegreeofcontroland authority exercised overothers.''Id.

         U pon review of the record, the court agrees w ith the Probation Office that a role

  enhancem ent is not appropriate in Halisi's case. W hile Halisiwas identified in the gang's

  writingsasthe highestranking memberofthe 99 Goon Syndikate,there isno evidence thathe

  was involved in planning or comm itting any of the particularrobbery offenses com mitted by

  othermembersofthe gang,orthathe claimed a rightto a largershare ofthe proceeds ofthose

  crimes. Becausethemajorityofthefactorssetforth aboveweighsagainsttheapplicationofa
  roleenhancement,thegovemment'sobjectionisoverruled.




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         B.     Adiustm entforObstruction ofJustice

         Halisi also filed objections to portions of his presentence reportthat affected the
  calculation of the applicable Guidelines range of im prisonm ent. Halisi first challenges the

  application ofatwo-levelenhancementforobstruction ofjusticeunderU.S.S.G.j3CI.I. The
  enhancementwasapplied onthegroundthatHalisicommittedperjuryduringtrialbyiçdenlying)
  guiltunderoath''and 'tdengyinglconductthatformsthe basisofthe offensesofconviction.''
  PSR !87.
         Pursuant to j 3C1.1, the obstruction-of-justice enhancement applies Sdlijf (1) the
  defendantwillfully obstructed orimpeded,orattempted to obstructorim pede,theadm inistration

  ofjustice ...,and (2) the obstructive conduct related to ...the defendant's offense of
  conviction and anyrelevantconduct.'' U.S.S.G.j3CI.I. Theerlhancementçdisnotintended to
  punish a defendantfor the exercise of a constitutionalright.'' U.S.S.G.j             app.n.2.
  Consequently,the sentencing courtcannot apply the enhancem ent disim ply because a defendant

  testifieson hisown behalfand thejury disbelieveshim.'' United Statesv.Bustos-Flores,362
  F.3d 1030,1037 (8th Cir.2004)(citation and internalquotation marks omitted). Instead,to
  im pose the enhancem ent based on a defendant's testim ony,i'the sentencing courtm ustfind that

  thedefendantd(l)gavefalsetestimony;(2)concerningamaterialmatter;(3)with willfulintent
  to deceive ....''' United Statesv.Perez,661 F.3d 189,192 (4th Cir.2011)(quoting United
  Statesv.Jones,308F.3d425,428n.2(4th Cir.2011)).
         Applying these principles,the courtis ofthe opinion thatan enhaneem entfor obstruction

  ofjusticeisnotwarrantedinHalisi'scase.W hilethejuryultimatelydiscreditedatleastsomeof
  the testim cmy thatH alisigave attrial,the courtbelieves thatthe application of an enhancem ent




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  would unfairly punish Halisifor exercising hisconstitutionalrightto testify on hisown behalf.

  Accordingly,Halisi'sobjectiontotheenhancementissustained.
                A pplivation ofthe G roupine Rules

         Halisi also adopted Stokes' objection to the Probation Office's application of the
  grouping provisions ofthe Sentencing Guidelines. Forthe reasons setforth above,the courtwill

  sustainthatobjection. LikeStokes,Halisiwillbeassignedacombinedadjustedoffenselevelof
  30,which istheadjustedoffenselevelapplicabletotheunderlyingobstructionoffense.
         D.     A cceptanee ofR esponsibilitv

         Halisi'sfinalobjection to the calculation oftheapplicable Guidelinesrangepertainsto
  theabsenceofareduction foracceptanceofresponsibilityunderU.S.S.G.j3EI.I.Thatsection
  instructs the sentencing court to decrease the defendant's offense level by two if he ktclearly

  demonstratesacceptanceofresponsibility forhisoffense,''U.S.S.G.j3E1,1(a),and todecrease
  it by one m ore levelupon m otion of the governm ent if his offense level prior to the tw o-level

  reductionwas16orhigher,U.S.S.G.j3El.1(b).
         Thecommentaryto j3E1.1providesanon-exclusivelistofCdappropriateconsiderations''
  in determining whether a defendantis entitled to a reduction for acceptance ofresponsibility.

  U.S.S.G. j 3E1.l app.n.1. The firstconsideration is whether the defendant ççtruthfully
  admittgedlthe conductcomprising the offensets)ofconviction ...and any additionalrelevant
  conductforwhich thedefendantisaccountableunderj 1B1.3 (RelevantConductl.''U.S.S.G.j
  3E1.1 app.n.1(A). ilAs a generalrule,acceptance ofresponsibility is inconsistent with a
  defendant's decision to exercise his rightto a trial.'' United States v.Jones,233 F.App'x 273,

  279 (4th Cir.2007).The Guidelines,however,provideforalimited exception:
         Thisadjustmentisnotintended to applyto adefendantwhoputsthegovernment
         to its burden ofproofattrialby denying the essentialfactualelem ents of guilt,is

                                                24

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         convicted,and only then adm itsguiltand expressesrem orse. Conviction by trial,
         however,doesnotautom aticallyprecludeadefendantfrom consideration forsuch
         a reduction. In rare situationsa defendantm ay clearly dem onstrate an acceptance
         of responsibility for his crim inal conduct even though he exercises his
         constitutionalrightto a trial. Thism ay occur,for example,where a defendant
         goestotrialtoassertandpreserveissuesthatdonotrelatetofactualguilt(e.g.,to
         m ake a constitutionalchallenge to a statute ora challenge to the applicability ofa
         statute to hisconduct). ln each such instance,however,a determinatton thata
         defendant has accepted responsibility will be based primarily upon pre-trial
         statem entsand conduct.

  U.S.S.G.j3E1.lapp.n.2(emphasisadded),
         The courtagreesw ith the Probation Office thatthiscase isnotone ofthe israre situations''

  in which a defendantw ho proceeds to trialm ay stillbe entitled to a reduction for acceptance of

  responsibility. ltis clearfrom the record thatH alisihas notfully accepted responsibility forhis

  actions,and thatatleastsome ofthe reasonshe wentto trialare directly related to factualguilt.

  For these reasons, Halisi's objection to the absence of a reduction for acceptance of
  responsibility is overruled.

                                            C onclusion

         Forthe reasons stated,the defendants'motions forjudgmentofacquittalare denied,
  Stokes'objectionsto the Probation Oftice'scalculation oftheapplicable Guidelinesrange are
  sustained,and Halisi's objections to the Probation Oftsce's calculation of the applicable
  Guidelinesrange are sustained in partand overruled in part.

         The Clerk is directed to send copies ofthis m em orandum opinion and the accom panying

  orderto allcounselofrecord.

         DATED:ThisC             dayofDecember,2016.


                                                           C iefU nited StatesD istrictJudge




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